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             UNITED STATES BANKRUPTCY COURT
               SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION
__________________________

In Re:                                         )   Chapter 7
                                               )
ALEXANDER E. JONES                             )   Case No. 22-33553 (CML)
                                               )
    Debtor.                                    )
__________________________

            MOTION TO STRIKE CONNECTICUT FAMILIES’ OPPOSITION
                    TO MOTION FOR LEAVE TO INTERVENE
                          [Relates to Docket No. 1124 ]


      This motion seeks an order that may adversely affect you. If you oppose the
      motion, you should immediately contact the moving party to resolve the
      dispute. If you and the moving party cannot agree, you must file a response
      and send a copy to the moving party. You must file and serve your response
      within 21 days of the date this was served on you. Your response must state
      why the motion should not be granted. If you do not file a timely response, the
      relief may be granted without further notice to you. If you oppose the motion
      and have not reached an agreement, you must attend the hearing. Unless the
      parties agree otherwise, the court may consider evidence at the hearing and
      may decide the motion at the hearing.

      Represented parties should act through their attorney.


         The undersigned Pro Se Attorney Intervenor/Interested Party, Robert Wyn Young, hereby

moves the Court for an order striking the Connecticut Families’ Opposition to Motion for

Leave to Intervene by Robert Wyn Young (Docket No. 1124), filed April 8, 2025, for and on

the grounds of the Connecticut Families’ non~compliance with Bankruptcy Local Rule

(“BLR”) 9013-1(g)(1). The grounds for this Motion are more fully set forth below.




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    BACKGROUND AND THE CONNECTICUT FAMILIES’ NON~COMPLIANCE
            WITH THE REQUIREMENTS OF BLR 9013-1(g)(1)

       On March 19, 2025, the undersigned Pro Se Attorney Intervenor/Interested Party, Robert

Wyn Young, filed a Motion for Leave to Intervene to Present Evidence of Fraudulent

Judgment. (Docket No. 1120) As provided in and by BLR 9013-1(b), the twenty~one (21) day

period for responses in opposition to the undersigned’s Motion for Leave to Intervene expired at

midnight, Central Time, on April 9, 2025. The Connecticut Families filed a memo in Opposition

to Motion for Leave to Intervene by Robert Wyn Young (Docket No. 1124) on April 8, 2025.

No other party filed a response in opposition to the undersigned’s Motion for Leave to Intervene

within the allowable twenty~one (21) day period expiring on April 9, 2025.

       It must be noted that, although the Connecticut Families filed a memo in Opposition to

Motion for Leave to Intervene (Docket 1124) within the allowable twenty~one (21) day time

period, they did not otherwise comply with the requirements of BLR 9013-1, which states the

following, in pertinent part, regarding Responses to Motions:

       Prior to filing a response, counsel (or unrepresented parties) shall confer with movant to
       attempt to resolve the relief requested in the motion without the necessity of a hearing.
       Responses must include a certificate either that (i) a conference was held and that the
       parties were unable to resolve the matter; or (ii) the specific dates that the respondent
       attempted to contact the movant and the reason why no conference was held.

[BLR 9013-1(g)(1)]

       The undersigned Pro Se Attorney Intervenor/Interested Party, Robert Wyn Young, hereby

certifies that the Connecticut Families did not contact the undersigned movant to confer in an

attempt to resolve the dispute before filing their response in opposition on April 8, 2025 (Docket

No. 1124). Further, the Connecticut Families’ response in Opposition to Motion for Leave to

Intervene (Docket No. 1124) does not include any certificate of compliance on its face or within




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its four corners, as is required by BLR 9013-1(g)(1), regarding any attempt(s) by the Connecticut

Families to meet, confer, and resolve before filing their response in opposition.

       The pre~response conference requirements of BLR 9013-1(g)(1) are not optional; they

are mandatory. BLR 9013-1(g)(1) states, in relevant passages, that: “Prior to filing a response,

counsel (or unrepresented parties) shall confer with movant”, and that “Responses must include a

certificate”. [Emphasis added.] The mandatory language and requirements of BLR 9013-1(g)(1),

and the Connecticut Families’ wholesale failure to comply with same, provide just cause for the

Motion to Strike herein submitted.

                       CONCLUSION AND REQUEST FOR RELIEF

       WHEREFORE, for the foregoing reasons, Pro Se Attorney Intervenor/Interested Party,

Robert Wyn Young, respectfully submits that the foregoing Motion to Strike Connecticut

Families’ Opposition to Motion for Leave to Intervene is well~taken, and it should be granted.

       Accordingly, the Court should strike from the record and entirely disregard the Connecticut

Families’ non~compliant April 8, 2025, response in Opposition to Motion for Leave to

Intervene (Docket No. 1124). Further, given that no compliant response in opposition was filed

within the allowable twenty~one (21) day period, the Court: (1) should deem the undersigned’s

Motion for Leave to Intervene (Docket No. 1120) to be unopposed; (2) should consider the

merits of said Motion on its face and from its four corners alone; and (3) should proceed to a

decision on said Motion without the necessity of a hearing, as is permitted by BLR 9013-1(g)(2),

where and when no recognizable and timely response in opposition is filed.

       In accordance with BLR 9013-1(h), the undersigned is attaching a proposed Order

granting the relief herein requested.


                           [Remainder of page intentionally left blank.]



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                                                    Respectfully submitted,



Date: 04/11/25                                      /s/ Robert Wyn Young
                                                    Robert Wyn Young (OH Bar #0064876)
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                                                    Mansfield, OH 44907
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                                                    Phone: (513) 238~2821
                                                    Pro Se Attorney Intervenor/Interested Party


                     FRBP 8015(h) CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Motion to Strike complies with the applicable
5,200~word limitation under FRBP 8013(f)(3)(A), and that such certification is based on a
914~word calculation of said Motion by my word processing program.



                                                    /s/ Robert Wyn Young
                                                    Robert Wyn Young


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2025, I caused a copy of the foregoing Motion to Strike,
and the proposed Order attached to/filed with same, to be served on all subscribed parties by the
Electronic Case Filing System of the United States Bankruptcy Court for the Southern District of
Texas.


                                                    /s/ Robert Wyn Young
                                                    Robert Wyn Young




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